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                    EXHIBIT 4
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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO


  WARNER RECORDS INC. et al.,

                    Plaintiffs,

  v.                                                      Case No. 19-cv-00874-RBJ

  CHARTER COMMUNICATIONS, INC.,

                    Defendant.



         DEFENDANT CHARTER COMMUNICATIONS, INC.’S OBJECTIONS AND
          RESPONSES TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES

          In accordance with Federal Rules of Civil Procedure 26 and 33, Defendant Charter

   Networks, LLC (“Charter”) responds to Plaintiffs’ Fourth Set of Interrogatories (“Interrogatories”)

   as follows. This response is made solely for the purposes of this litigation. Charter’s investigation

   into the facts of this case is ongoing and is not yet completed, and Charter therefore reserves the

   right to further supplement or amend its responses and objections to the extent allowed by the

   Federal Rules of Civil Procedure, the Local Rules, and the orders of this Court. The responses are

   based solely on the information that is presently available and specifically known to Charter.

            CHARTER’S OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

          Charter objects as follows to Plaintiffs’ Definitions and Instructions. To the extent the

   Definitions or Instructions are incorporated into the Interrogatories in Plaintiffs’ Fourth Set of

   Interrogatories, Charter incorporates these Objections as if set forth fully in response to each such

   Interrogatory.




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           1.       Charter objects to Plaintiffs’ Definitions and Instructions to the extent they purport

   to impose any requirement or discovery obligation on Charter other than those set forth in the

   Federal Rules of Civil Procedure and the applicable rules of this Court.

           2.       Pursuant to Fed. R. Civ. P. 26(b)(2)(B), Charter objects to all Definitions,

   Instructions, and Interrogatories to the extent that they require Charter to restore and/or search data

   sources that are not reasonably accessible or to merge data from multiple sources on the grounds

   that such Definitions, Instructions, and Interrogatories would subject Charter to undue burden and

   expense.

           3.       Charter objects to the Interrogatories to the extent that they seek private, business

   confidential, proprietary, commercially sensitive, or personal information. Any such information

   disclosed to Plaintiffs shall be pursuant to a protective order to be agreed upon by and between

   Charter and Plaintiffs.

           4.       To the extent that any Interrogatory, Definition, or Instruction may be construed as

   requiring Charter to characterize documents or their contents or to speculate as to what documents

   may or may not show, Charter objects to such Interrogatory, Definition, or Instruction as vague,

   ambiguous, and calling for legal conclusion and speculation.

           5.       Charter objects to the Interrogatories insofar as they purport to assume disputed

   facts or facts that are inaccurate, call for or assume legal conclusions, are argumentative, or are

   otherwise defective in form. Charter hereby denies any such disputed or inaccurate facts or legal

   conclusions that are or may be assumed by the Interrogatories, Definitions, or Instructions.

           6.       Charter objects to the Interrogatories to the extent they seek information regarding

   matters that are neither relevant to the claims or defenses of any party nor proportional to the needs

   of the action.




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          7.      Charter objects to the Interrogatories to the extent they seek information or

   documents that are a matter of public record equally accessible and/or ascertainable to Plaintiffs

   or otherwise can be obtained from a source other than Charter (including, but not limited to,

   information that is currently within Plaintiffs’ control).

          8.      Charter objects to each Interrogatory to the extent that it is duplicative or redundant

   of other Interrogatories.

          9.      Charter’s responses herein, and any associated production of documents in

   response to the Interrogatories, do not in any way constitute an adoption of Plaintiffs’ purported

   Definitions of words or phrases contained in the Interrogatories. Charter objects to the Definitions

   to the extent they: (i) are unclear, ambiguous, overly broad, or unduly burdensome; (ii) are

   inconsistent with the ordinary and customary meanings of the words or phrases they purport to

   define; (iii) seek to impose obligations different from, or in excess of, those created by the Federal

   Rules of Civil Procedure and the Local Rules; and/or (iv) incorporate other purported Definitions

   that suffer from such defects. Without limiting the breadth and application of these objections,

   Charter further objects to the Definitions as follows:

          10.     Charter objects to the definition of the terms “you,” “your,” “Charter,” and

   “Defendant” as overbroad and unduly burdensome to the extent it requires Charter to collect

   information outside of Charter’s possession, custody, and control with respect to “predecessors,”

   and “any other person or entity … previously acting or purporting to act on behalf of the

   defendant.”

          11.     Charter objects to the definition of “User” as overbroad and unduly burdensome,

   and as vague and ambiguous, in particular to the extent that it calls for information not in the

   possession, custody, and control of Charter.




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          12.     Charter objects to the definition of the term “Infringement Notice” as overbroad

   and unduly burdensome, vague and ambiguous, as argumentative, as improperly incorporating a

   legal conclusion, and as requiring Charter to speculate as to the existence and ownership of

   unidentified copyrights, and as to whether a particular notification was made “pursuant to” the

   DMCA.

          13.     Charter objects to the definition of the term “Infringing Subscriber” as overbroad

   and unduly burdensome, vague and ambiguous as it seeks to include subscribers beyond those

   identified in the Infringement Notices that Plaintiffs sent or were sent on Plaintiffs’ behalf. The

   definition is argumentative and improperly incorporates a legal conclusion. The definition of

   “Infringing Subscriber” is also ambiguous and overbroad as it incorrectly presumes that the

   individual or entity identified in an Infringement Notice sent by Plaintiffs, or on Plaintiffs’ behalf,

   was a subscriber of Charter’s services.

          14.     Charter objects to the definition of the term “DMCA Agent” as argumentative as it

   improperly incorporates a legal term and/or conclusion.

          15.     Charter objects to the definition of “Customer Facing Action” as overbroad and

   unduly burdensome, vague, and ambiguous, as it includes several undefined terms and concepts.

   Charter further objects to the definition of “Customer Facing Action” as it requires Charter to

   speculate as to what action would “adversely affect[] the Subscriber’s internet access.”

          16.     Charter objects to the definition of the terms “person” or “persons” as overbroad

   and unduly burdensome, vague, and ambiguous, in particular to the extent that it purports to require

   Charter to collect or produce documents from a “person’s successors, assigns, personal

   representatives, and heirs, by operation of law or otherwise.”




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          17.     Charter objects to the definition of the term “document” as overbroad and unduly

   burdensome to the extent it calls for the production of “oral,” telephonic, conversations and

   meetings not likely to have been recorded.

          18.     Charter objects to the definition of the term “concerning” as overbroad.

          19.     Charter objects to the definition of the term “any” as overbroad.

          20.     Charter objects to the definition of the term “communication” as overbroad and

   unduly burdensome to the extent it calls for the production of “oral,” telephonic, conversations

   and meetings not likely to have been recorded.

          21.     Charter objects to Plaintiffs’ instruction concerning privileged information,

   documents, or communications, to the extent that instruction purports to impose any requirement

   or discovery obligation on Charter other than those set forth in the Federal Rules of Civil Procedure

   and the applicable rules of this Court.

          22.     Charter reserves all objections or other questions as to the competency, relevance,

   materiality, privilege, or admissibility of any information produced in response to these

   Interrogatories at trial in this or any other action for any purpose whatsoever.

          23.     Charter hereby incorporates each of the foregoing objections into every response

   below as though fully set forth therein.

                              CHARTER’S GENERAL OBJECTIONS

          Charter objects to the Interrogatories as irrelevant, unduly burdensome, and

   disproportionate to the needs of the case because it requests information that is not relevant to

   either of the parties’ respective available claims or defenses. On November 5, 2020, the Court

   granted Charter leave to amend its counterclaims one and two to clarify and confirm that these

   declaratory judgment counterclaims are restricted in scope to the same time period as Plaintiffs’




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   affirmative claims alleged in their Amended Complaint, i.e., March 24, 2013 to May 17, 2016. See

   Dkt. 284 at 5-6; see also Dkt. 295 (Charter’s First Amended Answer) (Nov. 18, 2020) (so

   amending). After the Court issued that Order, also on November 5, 2020, Plaintiffs served the

   instant Interrogatories, which seek discovery pertaining to a subset of Plaintiffs’ (“Universal

   Plaintiffs”) purported “counterclaims” to Charter’s yet-to-be-filed amended counterclaims one and

   two. Specifically, these Interrogatories seek discovery in support of the Universal Plaintiffs’

   purported counterclaims asserting new allegations of copyright infringements between May 18,

   2016 and April 30, 2020 (i.e., outside of the scope of either Plaintiffs’ affirmative claims or

   Charter’s amended counterclaims), on over 3,000 new asserted works, and more than doubling the

   time period that the claims would cover. The Universal Plaintiffs’ proposed counterclaims were

   not served until November 24, 2020. See Dkt. 303. As set forth in Charter’s forthcoming motion

   to dismiss, the Universal Plaintiffs’ “counterclaims” are not permissive counterclaims but rather

   an improper attempt to amend the pleadings after the Court’s January 6, 2020 deadline without

   having first sought and obtained leave as required. See Old Town Indus., Inc. v. Ryan, 2010 WL

   2757352, at *2 (D. Colo. July 12, 2010) (striking counterclaims-in-reply where “[p]laintiff failed

   to [amend its complaint] within the time limit set by [the] Magistrate”). Because such leave has

   not yet been granted by the Court, any such claims are not operative and any discovery is

   inappropriate unless and until leave to amend is granted. See, e.g., Kirschner as Tr. of Millennium

   Lender Claim Tr. v. J.P. Morgan Chase Bank, N.A., 2020 WL 4671577, at *2 (S.D.N.Y. Aug. 12,

   2020) (discovery improper on claims where leave to amend had been sought but not yet granted

   because “[d]iscovery must be grounded in the operative complaint, not … a proposed amended

   complaint”). Moreover, the Court has expressly authorized Charter to file a motion to dismiss any

   such claims “if the [Universal Plaintiffs] subset persists in its desire to expand the case beyond the




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   claim period that has been the focus of attention throughout,” Dkt. 286 (Nov. 9, 2020),

   substantiating that the discovery sought does not pertain to extant claims. Finally, given the

   irrelevant nature of the claims, the scope of discovery sought, and the belated nature of the

   discovery sought, the Interrogatories are unduly burdensome and disproportionate to the needs of

   the case and would prejudice Charter by greatly expanding discovery at the eleventh hour. See,

   e.g., Johnson v. Barnes, 2020 WL 2059928, at *4 (D. Colo. Apr. 29, 2020) (denying discovery

   that is “grossly overbroad and largely irrelevant to the claims in this case”); Avram v. Samsung

   Elecs. Am., Inc., 2015 WL 6407958, at *3-4 (D.N.J. Oct. 20, 2015) (affirming magistrate judge’s

   ruling that burden of discovery sought outweighed any benefit, including based on “the timing of

   the request”). Because the Interrogatories seek last-minute discovery based on new claims (as the

   Court acknowledged) that are not properly part of an operative pleading, and given the

   extraordinarily broad scope of the discovery sought, such discovery is improper and available only

   if and when leave to amend is sought and granted.

          In the event that the Court grants Plaintiffs leave to assert the new claims, Charter will

   serve supplemental objections and responses within 21 days of entry of the Court’s order. Charter

   further reserves the right to supplement its objections and responses.

        CHARTER’S OBJECTION TO DISCLOSING PRIVILEGED INFORMATION

          Charter objects to the Interrogatories to the extent that they seek information or documents

   protected from disclosure by the attorney-client privilege, the attorney work product doctrine, or

   any other applicable privileges or immunities.

               CHARTER’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’
                         INTERROGATORIES (NOS. 17 – 22)

   INTERROGATORY NO. 17:




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          In the event that the Court grants Plaintiffs leave to assert the new claims, Charter will

   serve supplemental objections and responses within 21 days of entry of the Court’s order. Charter

   further reserves the right to supplement its objections and responses.

   INTERROGATORY NO. 20:

          State the number of Infringement Notices you received each month from May 18, 2016

   through April 30, 2020, and identify the person(s) most knowledgeable about such notices since

   May 18, 2016. See Plaintiffs’ Interrogatory 13; Dkt. 181 at 26-27.

   RESPONSE TO INTERROGATORY NO. 20:

          Charter incorporates its above-stated Objections to Plaintiffs’ Instructions and Definitions,

   General Objection, and Privilege Objection as if set forth herein. Charter further objects to this

   Interrogatory as irrelevant, unduly burdensome, and disproportionate to the needs of the case

   because it requests information that is not relevant to either of the parties’ respective available

   claims or defenses. See supra General Objection. On November 5, 2020, the Court granted

   Charter leave to amend its counterclaims one and two to clarify these counterclaims are restricted

   in scope to the same time period as Plaintiffs’ claims alleged in their Amended Complaint, i.e.,

   March 24, 2013 to May 17, 2016. See Dkt. 284 at 5-6; see also Dkt. 295 (Charter’s First Amended

   Answer) (Nov. 18, 2020) (so amending). After the Court issued that Order, also on November 5,

   2020, Plaintiffs served the instant Interrogatory which seeks discovery pertaining to purported

   “counterclaims” to Charter’s amended counterclaims one and two. This Interrogatory seeks

   discovery relevant only to the Universal Plaintiffs’ purported counterclaims asserting new

   allegations of copyright infringements between May 18, 2016 and April 30, 2020. As set forth in

   Charter’s forthcoming motion to dismiss, the Universal Plaintiffs’ “counterclaims” constitute an

   improper attempt to amend the pleadings after the Court’s January 6, 2020 deadline without having




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   first sought and obtained leave as required. See Old Town Indus., Inc. v. Ryan, 2010 WL 2757352,

   at *2 (D. Colo. July 12, 2010) (striking counterclaims-in-reply where “[p]laintiff failed to [amend

   its complaint] within the time limit set by [the] Magistrate”). Because such leave has not yet been

   granted by the Court, any such claims are not operative and any discovery is inappropriate unless

   and until leave to amend is granted. See, e.g., Kirschner as Tr. of Millennium Lender Claim Tr. v.

   J.P. Morgan Chase Bank, N.A., 2020 WL 4671577, at *2 (S.D.N.Y. Aug. 12, 2020) (discovery

   improper on claims where leave to amend had been sought but not yet granted because

   “[d]iscovery must be grounded in the operative complaint, not … a proposed amended

   complaint”). Moreover, the Court expressly authorized Charter to file a motion to dismiss any

   such claims “if the [Universal Plaintiffs] subset persists in its desire to expand the case beyond the

   claim period that has been the focus of attention throughout,” Dkt. 286 (Nov. 9, 2020),

   substantiating that the discovery sought does not pertain to extant claims. Finally, given the

   irrelevant nature of the claims, the scope of discovery sought, and the belated nature of the

   discovery sought, this Interrogatory is unduly burdensome and disproportionate to the needs of the

   case and would prejudice Charter by greatly expanding discovery at the eleventh hour. See, e.g.,

   Johnson v. Barnes, 2020 WL 2059928, at *4 (D. Colo. Apr. 29, 2020) (denying discovery that is

   “grossly overbroad and largely irrelevant to the claims in this case”); Avram v. Samsung Elecs.

   Am., Inc., 2015 WL 6407958, at *3-4 (D.N.J. Oct. 20, 2015) (affirming magistrate judge’s ruling

   that burden of discovery sought outweighed any benefit, including based on “the timing of the

   request”). Because the Interrogatory seeks last-minute discovery based on new claims (as the

   Court acknowledged) that are not properly part of an operative pleading, and given the

   extraordinarily broad scope of the discovery sought, such discovery is improper and available only

   if and when leave to amend is sought and granted.




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          In the event that the Court grants Plaintiffs leave to assert the new claims, Charter will

   serve supplemental objections and responses within 21 days of entry of the Court’s order. Charter

   further reserves the right to supplement its objections and responses.

   INTERROGATORY NO. 21:

          State the number of Customer Facing Actions, by Customer Facing Action, you took each

   month from May 18, 2016 through April 30, 2020 in response to the Infringement Notices

   identified in response to Interrogatory No. 20 and identify the person(s) most knowledgeable about

   such Customer Facing Actions. See Plaintiffs’ Interrogatory 14; Dkt. 181 at 26-27.

   RESPONSE TO INTERROGATORY NO. 21:

          Charter incorporates its above-stated Objections to Plaintiffs’ Instructions and Definitions,

   General Objection, and Privilege Objection as if set forth herein. Charter further objects to this

   Interrogatory as irrelevant, unduly burdensome, and disproportionate to the needs of the case

   because it requests information that is not relevant to either of the parties’ respective available

   claims or defenses. See supra General Objection. On November 5, 2020, the Court granted

   Charter leave to amend its counterclaims one and two to clarify these counterclaims are restricted

   in scope to the same time period as Plaintiffs’ claims alleged in their Amended Complaint, i.e.,

   March 24, 2013 to May 17, 2016. See Dkt. 284 at 5-6; see also Dkt. 295 (Charter’s First Amended

   Answer) (Nov. 18, 2020) (so amending). After the Court issued that Order, also on November 5,

   2020, Plaintiffs served the instant Interrogatory which seeks discovery pertaining to purported

   “counterclaims” to Charter’s amended counterclaims one and two. This Interrogatory seeks

   discovery relevant only to the Universal Plaintiffs’ purported counterclaims asserting new

   allegations of copyright infringements between May 18, 2016 and April 30, 2020. As set forth in

   Charter’s forthcoming motion to dismiss, the Universal Plaintiffs’ “counterclaims” constitute an




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   improper attempt to amend the pleadings after the Court’s January 6, 2020 deadline without having

   first sought and obtained leave as required. See Old Town Indus., Inc. v. Ryan, 2010 WL 2757352,

   at *2 (D. Colo. July 12, 2010) (striking counterclaims-in-reply where “[p]laintiff failed to [amend

   its complaint] within the time limit set by [the] Magistrate”). Because such leave has not yet been

   granted by the Court, any such claims are not operative and any discovery is inappropriate unless

   and until leave to amend is granted. See, e.g., Kirschner as Tr. of Millennium Lender Claim Tr. v.

   J.P. Morgan Chase Bank, N.A., 2020 WL 4671577, at *2 (S.D.N.Y. Aug. 12, 2020) (discovery

   improper on claims where leave to amend had been sought but not yet granted because

   “[d]iscovery must be grounded in the operative complaint, not … a proposed amended

   complaint”). Moreover, the Court expressly authorized Charter to file a motion to dismiss any

   such claims “if the [Universal Plaintiffs] subset persists in its desire to expand the case beyond the

   claim period that has been the focus of attention throughout,” Dkt. 286 (Nov. 9, 2020),

   substantiating that the discovery sought does not pertain to extant claims. Finally, given the

   irrelevant nature of the claims, the scope of discovery sought, and the belated nature of the

   discovery sought, this Interrogatory is unduly burdensome and disproportionate to the needs of the

   case and would prejudice Charter by greatly expanding discovery at the eleventh hour. See, e.g.,

   Johnson v. Barnes, 2020 WL 2059928, at *4 (D. Colo. Apr. 29, 2020) (denying discovery that is

   “grossly overbroad and largely irrelevant to the claims in this case”); Avram v. Samsung Elecs.

   Am., Inc., 2015 WL 6407958, at *3-4 (D.N.J. Oct. 20, 2015) (affirming magistrate judge’s ruling

   that burden of discovery sought outweighed any benefit, including based on “the timing of the

   request”). Because the Interrogatory seeks last-minute discovery based on new claims (as the

   Court acknowledged) that are not properly part of an operative pleading, and given the




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   extraordinarily broad scope of the discovery sought, such discovery is improper and available only

   if and when leave to amend is sought and granted.

          In the event that the Court grants Plaintiffs leave to assert the new claims, Charter will

   serve supplemental objections and responses within 21 days of entry of the Court’s order. Charter

   further reserves the right to supplement its objections and responses.

   INTERROGATORY NO. 22:

          Identify each Infringing Subscriber, by account number, whose internet service was

   terminated for nonpayment from May 18, 2016 through April 30, 2020 who also received at least

   three Infringement Notices. See Plaintiffs’ Interrogatory 16; Dkt. 230 at 7-9.

   RESPONSE TO INTERROGATORY NO. 22:

          Charter incorporates its above-stated Objections to Plaintiffs’ Instructions and Definitions,

   General Objection, and Privilege Objection as if set forth herein. Charter further objects to this

   Interrogatory as irrelevant, unduly burdensome, and disproportionate to the needs of the case

   because it requests information that is not relevant to either of the parties’ respective available

   claims or defenses. See supra General Objection. On November 5, 2020, the Court granted

   Charter leave to amend its counterclaims one and two to clarify these counterclaims are restricted

   in scope to the same time period as Plaintiffs’ claims alleged in their Amended Complaint, i.e.,

   March 24, 2013 to May 17, 2016. See Dkt. 284 at 5-6; see also Dkt. 295 (Charter’s First Amended

   Answer) (Nov. 18, 2020) (so amending). After the Court issued that Order, also on November 5,

   2020, Plaintiffs served the instant Interrogatory which seeks discovery pertaining to purported

   “counterclaims” to Charter’s amended counterclaims one and two. This Interrogatory seeks

   discovery relevant only to the Universal Plaintiffs’ purported counterclaims asserting new

   allegations of copyright infringements between May 18, 2016 and April 30, 2020. As set forth in




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   Charter’s forthcoming motion to dismiss, the Universal Plaintiffs’ “counterclaims” constitute an

   improper attempt to amend the pleadings after the Court’s January 6, 2020 deadline without having

   first sought and obtained leave as required. See Old Town Indus., Inc. v. Ryan, 2010 WL 2757352,

   at *2 (D. Colo. July 12, 2010) (striking counterclaims-in-reply where “[p]laintiff failed to [amend

   its complaint] within the time limit set by [the] Magistrate”). Because such leave has not yet been

   granted by the Court, any such claims are not operative and any discovery is inappropriate unless

   and until leave to amend is granted. See, e.g., Kirschner as Tr. of Millennium Lender Claim Tr. v.

   J.P. Morgan Chase Bank, N.A., 2020 WL 4671577, at *2 (S.D.N.Y. Aug. 12, 2020) (discovery

   improper on claims where leave to amend had been sought but not yet granted because

   “[d]iscovery must be grounded in the operative complaint, not … a proposed amended

   complaint”). Moreover, the Court expressly authorized Charter to file a motion to dismiss any

   such claims “if the [Universal Plaintiffs] subset persists in its desire to expand the case beyond the

   claim period that has been the focus of attention throughout,” Dkt. 286 (Nov. 9, 2020),

   substantiating that the discovery sought does not pertain to extant claims. Finally, given the

   irrelevant nature of the claims, the scope of discovery sought, and the belated nature of the

   discovery sought, this Interrogatory is unduly burdensome and disproportionate to the needs of the

   case and would prejudice Charter by greatly expanding discovery at the eleventh hour. See, e.g.,

   Johnson v. Barnes, 2020 WL 2059928, at *4 (D. Colo. Apr. 29, 2020) (denying discovery that is

   “grossly overbroad and largely irrelevant to the claims in this case”); Avram v. Samsung Elecs.

   Am., Inc., 2015 WL 6407958, at *3-4 (D.N.J. Oct. 20, 2015) (affirming magistrate judge’s ruling

   that burden of discovery sought outweighed any benefit, including based on “the timing of the

   request”). Because the Interrogatory seeks last-minute discovery based on new claims (as the

   Court acknowledged) that are not properly part of an operative pleading, and given the




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   extraordinarily broad scope of the discovery sought, such discovery is improper and available only

   if and when leave to amend is sought and granted.

          In the event that the Court grants Plaintiffs leave to assert the new claims, Charter will

   serve supplemental objections and responses within 21 days of entry of the Court’s order. Charter

   further reserves the right to supplement its objections and responses.

    Dated: December 7, 2020                      /s/ Andrew H. Shapiro______
                                                 Andrew H. Schapiro
    Jennifer A. Golinveaux                       QUINN EMANUEL URQUHART &
    WINSTON & STRAWN LLP                         SULLIVAN, LLP
    101 California Street, 35th Floor            191 N. Wacker Drive, Suite 2700
    San Francisco, CA 94111                      Chicago, IL 60606
    (415) 591-1506 (telephone)                   (312) 705-7400 (telephone)
    (415) 591-1400 (facsimile)                   (312) 705-7401 (facsimile)
    Email: jgolinveaux@winston.com               Email: andrewschapiro@quinnemanuel.com

    Michael S. Elkin                             Charles K. Verhoeven
    WINSTON & STRAWN LLP                         David Eiseman
    200 Park Avenue                              QUINN EMANUEL URQUHART &
    New York, NY 10166                           SULLIVAN, LLP
    (212) 294-6700 (telephone)                   50 California Street, 22nd Floor
    (212) 294-4700 (facsimile)                   San Francisco, CA 94111
    Email: melkin@winston.com                    (415) 875-6600 (telephone)
    Email: tlane@winston.com                     (415) 875-6700 (facsimile)
    Email: sspitzer@winston.com                  Email: charlesverhoeven@quinnemanuel.com
                                                 Email: davideiseman@quinnemanul.com
    Erin R. Ranahan
    WINSTON & STRAWN LLP                         Craig D. Joyce
    333 S. Grand Avenue, 38th Floor              John M. Tanner
    Los Angeles, CA 90071                        FAIRFIELD AND WOODS, P.C.
    (213) 615-1933 (telephone)                   1801 California Street, Suite 2600
    (213) 615-1750 (facsimile)                   Denver, Colorado 80202
    Email: eranahan@winston.com                  (303) 830-2400 (telephone)
                                                 (303) 830-1033 (facsimile)
                                                 E-mail: cjoyce@fwlaw.com

                                                 Counsel for Defendant and Counterclaim-
                                                 Plaintiff Charter Communications, Inc.




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                                 CERTIFICATE OF SERVICE

          I hereby certify that on December 7, 2020, a true and correct copy of the foregoing

   DEFENDANT CHARTER COMMUNICATIONS, INC.’S OBJECTIONS AND RESPONSES

   TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES was served via electronic mail upon

   the following:

   Janette L. Ferguson, Esq.                    Matthew J. Oppenheim
   Benjamin M. Leoni, Esq.                      Scott A. Zebrak
   LEWIS BESS WILLIAMS & WEESE, P.C.            Jeffrey M. Gould
   1801 California Street, Suite 3400           OPPENHEIM + ZEBRAK, LLP
   Denver, CO 80202                             4530 Wisconsin Ave. NW, 5th Fl.
   Tel: (303) 861-2828                          Washington, DC 20016
   Facsimile: (303) 861-4017                    Tel: (202) 621-9027
   jferguson@lewisbess.com                      matt@oandzlaw.com
   bleoni@lewisbess.com                         scott@oandzlaw.com
                                                jeff@oandzlaw.com

   Mitchell A. Kamin                            Jonathan M. Sperling
   Neema T. Sahni                               COVINGTON & BURLING LLP
   COVINGTON & BURLING LLP                      The New York Times Building
   1999 Avenue of the Stars, Suite 3500         620 Eighth Avenue
   Los Angeles, CA 90067-4643                   New York, NY 10018-1405
   Telephone: (424) 332-4800                    Telephone: (212) 841-1000
   mkamin@cov.com                               jsperling@cov.com
   nsahni@cov.com




                                                /s/ Allison Huebert______




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